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                                                     APPROVED FOR FILING BY THE CSO


                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
ZAYN AL ABIDIN MUHAMMAD HUSAYN,           )
                                          )
                        PETITIONER,       )
                                          )
            VS.                           )                Civil Action No. CV-1360 (RWR)
                                          )
ROBERT GATES,                             )
                                          )
                        RESPONDENT.       )
                                          )
__________________________________________)

                                   NOTICE OF FILING

       NOTICE is hereby given that, on May 11, 2009, Petitioner filed document entitled
Memorandum in Support of Motion for Relief from Improper Classification with the Court
Security Officer.


May 12, 2009
Washington, DC                             Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that I have on this 12th day of May 2009 served a true and correct copy

of the foregoing Notice of Filing, by operation of the Court’s Electronic Case Filing System, on:

James C. Luh
Trial Attorney
Civil Division, Federal Programs Branch
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